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 1   (Stipulating parties listed on signature page)
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                                      UNITED STATES DISTRICT COURT
 8                                  NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
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10   In re: CATHODE RAY TUBE (CRT)                            Case No. 07-5944 SC
     ANTITRUST LITIGATION                                       MDL No. 1917
11
     This Document Relates to:                        JOINT STIPULATION AND [PROPOSED]
12                                                    ORDER TO EXTEND FACT DISCOVERY
     Case No. 11-cv-06276-SC                          DEADLINE AS AGAINST OFFICE
13                                                    DEPOT INC. REGARDING THE STEVE
     OFFICE DEPOT, INC.,                              FOXHALL DEPOSITION
14
                                   Plaintiff,
15                                                    JUDGE: HON. SAMUEL CONTI
            v.
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     HITACHI, LTD., et al.,
17
                                   Defendants,
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                                                                                    MDL 1917
          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND FACT DISCOVERY
                                      DEADLINE
          Case 3:07-cv-05944-JST Document 2802 Filed 09/05/14 Page 2 of 4




 1          This Joint Stipulation to Extend Fact Discovery Deadline as Against Office Depot, Inc.
 2   Regarding the Steve Foxhall Deposition that is between Office Depot, Inc. (“Office Depot”), on the
 3   one hand, and Defendants Koninklijke Philips N.V. and Philips Electronics North America
 4   Corporation (collectively, the “Philips Defendants”), on the other hand, is made with respect to the
 5   following facts and recitals:
 6          WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
 7   fact discovery for September 5, 2014;
 8          WHEREAS, prior to the close of fact discovery, the Philips Defendants worked closely with
 9   Office Depot to complete the deposition process of both current and former Office Depot witnesses;
10          WHEREAS, prior to the close of fact discovery, the Philips Defendants identified the need to
11   depose a witness with knowledge of the business practice and procedures of OfficeMax
12   Incorporated, OfficeMax North America, Inc.; OfficeMax Contract; and The Reliable Corporation
13   (collectively “OfficeMax”) that are relevant to the above captioned matter. The Philips Defendants
14   identified and located a former employee from OfficeMax, Steve Foxhall, that they believe could
15   have relevant information about Office Depot’s claims brought in the above captioned matter.
16          WHEREAS, the deposition of Steve Foxhall could not be scheduled before September 5,
17   2014 due to various scheduling conflicts;
18          IT IS HEREBY STIPULATED, by and between the parties, through their respective counsel
19   of record, that the deadline to complete fact discovery for Office Depot regarding only the deposition
20   of Steve Foxhall will be extended up to and including October 5, 2014.
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                                                                          TES D      TC
     PURSUANT TO STIPULATION, IT IS SO ORDERED.                          A
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               09/05/2014
     DATED: ___________________________                          _______________________________
24                                                               Hon. Samuel A. Conti
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                                                                 United States District Judge
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          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND FACT DISCOVERY
                                      DEADLINE
         Case 3:07-cv-05944-JST Document 2802 Filed 09/05/14 Page 3 of 4



     Dated: September 2, 2014
 1

 2                                            Respectfully submitted,
 3

 4                                            By: _______________________________
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                                                 Erik T. Koons (pro hac vice)
10                                               Charles M. Malaise (pro hac vice)
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                                                 Attorneys for Defendants Koninklijke
16                                               Philips N.V. and Philips Electronics North
                                                 America Corporation
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18                                               By: /s/ Philips I. Iovieno___________
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28
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                                     DEADLINE
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I, Charles M. Malaise, attest that concurrence in the filing of this document has been obtained

 3   from all signatories. I declare under penalty of perjury under the laws of the United States of

 4   America that the foregoing is true and correct. Executed this 2nd day of September, 2014, at

 5   Washington, DC.

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                                                                  ___________________________
 7                                                                Charles M. Malaise
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          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND FACT DISCOVERY
                                      DEADLINE
